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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               W EST PALM BEA CH D IV ISION
                     Case N o.I4-8OOOI-CR -M ID DLEBRO OK S/BM > ON

 UNITED STATES OF AM ERICA,

       Plaintiff,

 VS.

 JA BER EN TERPRISES,IN C .
 d/b/aFajita'sM eatandFish,
       D efendant.
                                                              /

                O RDER AW ARDING FEES AND CO STS TO RECEIVER
                         A N D R ECEIVE R 'S A TTO R N EY S

       THIS M ATTER came before the Courton the Receiver's Unopposed M otion to Award

 FinalFeesand Coststo the Receiverand the Receiver'sAttorneys (DE#185). The Courq (a)
 having reviewed the Receiver's motion,(b)having previously approved the sale ofthe real
 property subjectto the Receivership,(c)been advised thatthe motion isunopposed;and (c)
 being otherwise fully advised in theprem ises,itishereby:

        ORD ERED AN D AD JU D GED A S FOLLO W S:

               The Receiver's M otion is GRA NTED .

               On July 10,2015,the Receiverclosed the sale (DE#180)ofthe realproperty
 locatedat2508EgretLakeDriveinGreenacres,Palm BeachCounty,Florida(theéiReceivership
 Property'),pursuanttotheOrderApprovingOrderSaledatedM ay 11,2015(DE#179).
               The Receiverishereby awarded a Receiver'sfee of$20,800.00 ascom pensation
 foradministering and selling the Receivership Property,and reim bursementofexpensestotaling
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 $1,408.63,fora totalaward of$22,208.63. The Courtfindsthatthe Receiver's fees and costs

 are fairand reasonable.

        4.     The Courtfindsthat:(a)the 1aw filnn of Chapman Smith & Associates,PLC
 expended28.20hoursoftimeascounselfortheReceiver;(c)thetimespentandthehourly rates
 charged are customary and reasonable;and (d)the costsand chargesadvanced by Receiver's

 attorneystotaling $97.93 arealsoreasonable,
               The law firm ofChapm an Smith & Associates,PLC ishereby awarded attonwy

 feesand coststotaling $8,440.43 forthe legalservicesrendered to theReceiverin thismatter.
        6.     Theprofessionalfeesand costsawarded herein shallbepaid by the Receiverupon

 entry ofthisOrderfrom theproceedsfrom the sale ofthe Receivership Property.Afterdeducting

 and disbursing the fee and costawardsapproved herein,the rem aining proceedsofsale shallbe

 paid to the Clerk of the Court,U .S.District Court,Southern District of Florida, Financial

 section,400 N .M iam iAvenue,8tb Floor, M iami,Florida 33128by cashier'scheck orelectronic

 transfer,forpaym entofrestitution as ordered by the Court.

        DoxEAxD ORDERED inthis/-
                               f dayof                   n        2016in WestPalm Beach,
 Florida.




                                                    ON A LD M .M ID D LEBRO OK
                                                   UN ITED STATES D ISTRICT JU D G E


 Copiesfurnished to:
 Counselofrecord
